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 5
 6   Attorney for Plaintiff: Frank Singh

 7
                                        UNITED STATES DISTRICT COURT
 8
 9                                 CENTRAL DISTRICT OF CALIFORNIA

10                                            EASTERN DIVISION
11
12   FRANK SINGH,                                           Case No.:
13                         Plaintiff,                       COMPLAINT BY FRANK SINGH AGAINST
14                                                          LITTLE CAESAR ENTERPRISES, INC., et al.,
     v.                                                     FOR DAMAGES AND INJUNCTIVE RELIEF
15                                                          RESULTING FROM VIOLATIONS OF 1)
     LITTLE CAESAR ENTERPRISES, INC., as                    TITLE III OF THE AMERICANS WITH
16   an entity and doing business as “Little Caesar’s”,     DISABILITIES ACT OF 1990; 2) THE UNRUH
17   LDC COUGAR, LLC, and DOES 1-50,                        CIVIL RIGHTS ACT; and 3) THE
     Inclusive,                                             CALIFORNIA DISABLED PERSONS ACT.
18
                           Defendants.                      [42 U.S.C. §§ 12101-12213; Cal. Civ. Code §§ 51,
19                                                          52, 54, 54.1, 54.2 and 54.3.]
20
21
22            Comes now the Plaintiff, FRANK SINGH, (hereafter, “Mr. Singh” or “Plaintiff”) through his

23    Attorney, DANIEL MALAKAUSKAS, 7345 South Durango Drive, Suite B-107-240, Las Vegas, NV

24    89113; Telephone: (866) 790-2242; Facsimile: (888) 802-2440; who, having been denied his civil
25
      rights, hereby respectfully alleges, avers, and complains as follows:
26
27
                  THIS COURT CAN GRANT JUSTICE TO A DISABLED INDIVIDUAL
28


          COMPLAINT BY SINGH AGAINST LITTLE CAESAR ENTERPRISES, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1          1.     Mr. Singh is a disabled person, confined to a wheelchair, who suffers from the medical
 2
     condition C-6-7 Tetraplegia.
 3
            2.     In October 2022, Mr. Singh was denied the full and equal access to a public
 4
     accommodation located at 11898 Foothill Boulevard, Suite 110, Rancho Cucamonga, CA 91730.
 5
 6          3.     Mr. Singh now asks that this Court stand up for his rights under the Americans with

 7   Disabilities Act (“ADA”), the Unruh Civil Rights Act (“UCRA”) and the California Disabled Persons
 8
     Act (“CDPA”).
 9
10      THE UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA,
11        EASTERN DIVISION, HAS JURISDICTION AND IS THE PROPER VENUE FOR
                             PLAINTIFF TO SEEK JUSTICE
12
            4.     The United States District Court has original federal question jurisdiction over this action
13
14   pursuant to 28 U.S.C. § 1331 and § 1343(a)(3) and (a)(4), for violations of the Americans with

15   Disabilities Act, 42 U.S.C. §§ 12101, et seq. This Court has supplemental jurisdiction over all state
16   claims, including, but not limited to, claims under the Unruh Civil Rights Act, Cal. Civ. Code § 51, et
17
     seq., and/or the California Disabled Persons Act, Cal. Civ. Code §§ 54-55.3, pursuant to 28 U.S.C. §
18
     1367 as such acts not only expressly incorporate the Americans with Disabilities Act, but such state
19
20   law claims also arose from the same nucleus of operative facts or transactions.

21          5.     Venue in this Court is proper under 28 U.S.C. § 1391(b)(2) as the claims alleged herein
22   arose in the Central District, specifically at the real property located at 11898 Foothill Boulevard, Suite
23
     110, Rancho Cucamonga, CA 91730.
24
            6.     The Eastern Division of the Central District of California, is the proper division because
25
26   all claims herein arose at the real property located at 11898 Foothill Boulevard, Suite 110, Rancho

27   Cucamonga, CA 91730.
28


        COMPLAINT BY SINGH AGAINST LITTLE CAESAR ENTERPRISES, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1                              THE VICTIM AND THOSE RESPONSIBLE
 2
            7.     Mr. Singh is a disabled person, confined to a wheelchair, who suffers from the medical
 3
     condition C-6-7 Tetraplegia. Mr. Singh is therefore a “person with a disability” and a “physically
 4
     disabled person” and has a “disability” or “medical condition” pursuant to the rules and regulations of
 5
 6   the ADA, specifically 42 U.S.C § 12102 and Cal. Civ. Code §§ 51 and 54. Mr. Singh has filed eleven

 7   (11) complaints (if including this complaint) alleging construction related accessibility violations in
 8
     the proceeding twelve (12) months and is therefore a high-frequency litigant pursuant to Cal. Code of
 9
     Civ. P. §425.55.
10
            8.     Defendants, LITTLE CAESAR ENTERPRISES, INC., and Does 1-50 (hereafter,
11
12   collectively or individually, “Tenant”), operate as a business establishment, hold themselves out to the

13   public, and do business as “Little Caesar’s” at 11898 Foothill Boulevard, Suite 110, Rancho
14
     Cucamonga, CA 91730., and have substantial control over the interior and exterior of the building, the
15
     parking lot, and all spaces adjacent to such building.
16
            9.     Defendants, LDC COUGAR, LLC, and Does 1-50 (hereafter, collectively or
17
18   individually, “Landlord”, in their commercial real estate investment, owner, or landlord capacity), own,

19   operate, manage, and have substantial control over the real property, including the interior and exterior
20
     of the building, parking lot and all spaces adjacent to the building located at 11898 Foothill Boulevard,
21
     Suite 110, Rancho Cucamonga, CA 91730.
22
            10.    Defendants, Does 26-50, are individuals, businesses, organizations, or entities which
23
24   entered into a contract with Defendants, Landlord, and/or Does 1-50, as property managers or

25   franchisees for the real property and adjacent parking lot, and as such have substantial control over the
26
     real property located at 11898 Foothill Boulevard, Suite 110, Rancho Cucamonga, CA 91730..
27
28


        COMPLAINT BY SINGH AGAINST LITTLE CAESAR ENTERPRISES, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1          11.     The true names and capacities of the Defendants named herein as Does 1-50, inclusive,
 2
     whether individual, corporate, partnership, association, or otherwise, are unknown to Plaintiff who
 3
     therefore sues these Defendants by such fictitious names. Plaintiff requests leave of court to amend this
 4
     complaint to allege their true names and capacities at such times as they are ascertained.
 5
 6          12.     Plaintiff is informed and believes and thereon alleges that each of the Defendants,

 7   including Does 1-50, caused and are responsible for the below described unlawful conduct and
 8
     resulting injuries by, among other things, personally participating in the unlawful conduct or acting
 9
     jointly or conspiring with others who did so; by authorizing, acquiescing in or setting in motion
10
     policies, plans or actions that led to the unlawful conduct; by failing to take action to prevent the
11
12   unlawful conduct; by failing and refusing with deliberate indifference to Plaintiff’s rights to equal

13   access to public spaces; and by ratifying the unlawful conduct that occurred by agents, and officers or
14
     entities under their direction and control.
15
16
                       MR. SINGH WAS DENIED EQUAL ACCESS TO A
17             PUBLIC ACCOMMODATION AND NOW FIGHTS FOR ALL DISABLED

18          13.     Mr. Singh is a disabled person, confined to a wheelchair, who suffers from the medical
19   condition C-6-7 Tetraplegia. Mr. Singh is therefore a “person with a disability” and a “disabled person”
20
     and has a “disability” or “medical condition” pursuant to federal law, rules and regulations, specifically
21
     42 U.S.C § 12102, and 28 C.F.R. § 36.104.
22
23          14.     In October 2022, Mr. Singh desired to go to and use the services, and/or buy products at

24   the “Little Caesar’s” located at 11898 Foothill Boulevard, Suite 110, Rancho Cucamonga, CA 91730.
25   The business “Little Caesar’s” was nearby the Victoria Gardens Mall which Mr. Singh likes to frequent
26
     and was convenient.
27
28


        COMPLAINT BY SINGH AGAINST LITTLE CAESAR ENTERPRISES, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1           15.    While in the parking lot adjacent to, surrounding, or while inside the business “Little
 2
     Caesar’s,” Mr. Singh personally encountered barriers that interfered with his ability, to use and enjoy
 3
     the goods, services, privileges and accommodations offered by the facility.
 4
             16.    Specifically, and personally, Mr. Singh experienced difficulty while going to the
 5
 6   business known as “Little Caesar’s.” Mr. Singh had difficulty as the alleged accessible parking spaces

 7   and access aisles had improper slopes making it more difficult for Mr. Singh to use in his wheel chair.
 8
     In addition, there entrance door was heavy and more difficult to open in a wheelchair. This caused Mr.
 9
     Singh difficulty and hardship.
10
             17.    Despite Mr. Singh’s wish to patronize the business in the future, as the business is near
11
12   the Victoria Gardens Mall, Mr. Singh visits, the above-mentioned barriers constitute deterrents to

13   access to the business, rendering the business’ goods, services, facilities, privileges, advantages, and
14
     accommodations unavailable to physically disabled patrons such as himself.
15
             18.    Mr. Singh alleges, on information and belief, that Defendants knew that such barriers
16
     existed and that Defendants’ failure to remove the barriers was intentional as the particular barriers
17
18   mentioned above were intuitive and obvious. Additionally, Defendants exercised control and dominion

19   over the condition of the real property and building and had the financial resources to remove such
20
     barriers. Furthermore, Mr. Singh alleges, on information and belief, that such modifications were
21
     readily achievable as removal of the above barriers could have been achieved without much difficulty
22
     or expense.
23
24           19.    Mr. Singh brings this lawsuit to encourage Defendants to ensure their property is

25   accessible to all.
26
27                                         FIRST CLAIM
                                 VIOLATION OF TITLE III OF THE ADA
28                                      (As to all Defendants)


        COMPLAINT BY SINGH AGAINST LITTLE CAESAR ENTERPRISES, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1          20.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
 2
     allegation contained in all prior and subsequent paragraphs.
 3
            21.    The parking lot and building at the real property known as 11898 Foothill Boulevard,
 4
     Suite 110, Rancho Cucamonga, CA 91730. is owned, controlled, operated, leased, and managed by
 5
 6   Defendants: Tenant, Landlord, Does 1-50, or their agents. The business “Little Caesar’s,” including its

 7   parking lot, is open to the general public and as such is a “public accommodation” under 42 U.S.C. §
 8
     12181 and 28 C.F.R. § 36.104.
 9
            22.    Pursuant to 42 U.S.C. § 12182(a), by owning, leasing, or operating the public
10
     accommodation known as “Little Caesar’s,” Defendants are prohibited from discriminating against
11
12   Plaintiff by denying him, on the basis of his disability, the full and equal enjoyment of the goods,

13   services, facilities, privileges, advantages, or accommodations offered by the facility.
14
            23.    In order to avoid discriminating against a disabled individual pursuant to 28 C.F.R. §
15
     36.101 and § 36.102, Defendants must ensure that such public accommodation is designed, constructed,
16
     and altered in compliance with the accessibility standards established by 28 C.F.R. § 36.101 et seq.,
17
18   and have proper policies, practices, and procedures to ensure that individuals with disabilities are

19   afforded equal access to the full and equal enjoyment of the goods, services, facilities, privileges,
20
     advantages, or accommodations offered by the public accommodation. 42 U.S.C. §§ 12181(9),
21
     12182(b)(2)(A)(iv) and (v), 12183(a)(1) and (2).
22
            24.    Mr. Singh is a disabled person, confined to a wheelchair, who suffers from the medical
23
24   condition C-6-7 Tetraplegia. Plaintiff is therefore a “person with a disability” and a “disabled person”

25   and has a “disability” or “medical condition” pursuant to federal law, rules and regulations, specifically
26
     42 U.S.C § 12102 and 28 C.F.R. § 36.104. While at the interior, exterior, parking lot, or adjacent
27
     spaces, of the business known as “Little Caesar’s,” Plaintiff personally encountered a number of
28


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 1   barriers that interfered with his ability, to use and enjoy the goods, services, privileges and
 2
     accommodations offered at the facility.
 3
            25.    Specifically, Defendants failed to ensure that such real property was equally accessible
 4
     to individuals with disabilities and medical conditions by having the following barriers at the real
 5
 6   property:

 7         a.      The alleged accessible parking space(s) and access aisle(s)’ slope(s) exceed two percent
 8
           (2%) in violation of 1991 ADAAG 4.6.3, 2010 ADAS 502.4 Exception, 2013 CBC 11B-502.4
 9
           Exception and 2016 CBC 11B-502.4 Exception;
10
           b.      One or more of the alleged accessible parking spaces fail to have “VAN
11
12         ACCESSIBLE” identification signage in violation of 1991 ADAAG 4.6.1, 2010 ADAS 502.6,

13         2013 CBC 11B502.6, 2016 CBC 11B-502.6;
14
           c.      The alleged accessible route’s ground surface has one or more openings that exceeds
15
           one-half inch (1/2”) in violation of 2010 ADAS 403.2, 2013 CBC 11B-403.2, and, 2016 CBC
16
           11B-403.2;
17
18         d.      The alleged accessible entrance door(s) requires more than five pounds (5 lbs.) of force

19         to push or pull open in violation of 2013 CBC 11B-404.2.9 and 2016 CBC 11B-404.2.9.
20
            26.    As a direct and proximate cause of Defendants’ conduct, Plaintiff, on the basis of his
21
     disabilities, was denied the opportunity to participate in or benefit from a good, service, privilege,
22
     individuals in violation of 42 U.S.C. § 12181.
23
24          27.    Plaintiff seeks injunctive relief to prohibit Defendants’ acts and omissions as complained

25   of herein which have the effect of wrongfully discriminating against Plaintiff and other members of the
26
     public who are physically disabled from full and equal access to these public facilities. Specifically,
27
     Plaintiff seeks injunctive relief ensuring that Defendants modify their real property to ensure that
28


        COMPLAINT BY SINGH AGAINST LITTLE CAESAR ENTERPRISES, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1   disabled persons are not discriminated against in receiving equal access to goods, services, and facilities
 2
     as other more able-bodied persons.
 3
 4                                       SECOND CLAIM
 5                          VIOLATIONS OF CALIFORNIA CIVIL CODE § 51
                                       (As to all Defendants)
 6
            28.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
 7
 8   allegation contained in all prior and subsequent paragraphs.

 9          29.    Any violation of the ADA 42 U.S.C. §§ 12101-12213 also constitutes a violation of Cal.
10   Civ. Code § 51(f) and § 52(a), thus independently justifying an award of damages and injunctive relief
11
     pursuant to California law.
12
            30.    On the basis of his disabilities, Plaintiff was denied the opportunity to participate in or
13
14   benefit from a good, service, privilege, advantage or accommodation in a manner equal to that afforded

15   to other non-disabled individuals which resulted in Plaintiff’s difficulty, discomfort, or embarrassment.
16   Therefore, pursuant to Cal. Civ. Code § 55.56(a) through (c), Plaintiff is entitled to attorneys’ fees,
17
     costs, and damages of no less than four-thousand U.S. dollars (4,000 USD) for each and every violation.
18
19
                                         THIRD CLAIM
20                          VIOLATIONS OF CALIFORNIA CIVIL CODE § 54
                                       (As to all Defendants)
21
            31.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
22
23   allegation contained in all prior and subsequent paragraphs.

24          32.    Any violation of the ADA 42 U.S.C. §§ 12101-12213 also constitutes a violation of Cal.
25
     Civ. Code § 54.1(d) and § 54.3(a), thus independently justifying an award of damages and injunctive
26
     relief pursuant to California law.
27
28


        COMPLAINT BY SINGH AGAINST LITTLE CAESAR ENTERPRISES, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1          33.    On the basis of his disabilities, Plaintiff was denied the opportunity to participate in or
 2
     benefit from a good, service, privilege, advantage or accommodation in a manner equal to that afforded
 3
     to other non-disabled individuals, which resulted in Plaintiff’s difficulty, discomfort or embarrassment.
 4
     Therefore, pursuant to Cal. Civ. Code § 55.56(a) through (c), Plaintiff is entitled to attorneys’ fees,
 5
 6   costs, and damages on no less than one-thousand U.S. dollars (1,000 USD) for each and every violation.

 7
 8                                                   PRAYER

 9
     WHISEFORE, Plaintiff prays the following:
10
            1.     For injunctive relief directing Defendants to modify their facilities and policies as
11
     required by law to comply with ADA regulations, including the ADAAG where required; institute
12
13   policy to enable Plaintiff to use goods and services offered to the non-disabled public; provide adequate

14   access to all citizens, including persons with disabilities; issue a permanent injunction directing
15
     Defendants to maintain their facilities usable by Plaintiff and similarly situated person with disabilities
16
     in compliance with federal regulations, and which provide full and equal access, as required by law;
17
            2.     Retain jurisdiction over Defendants until such time as the Court is satisfied that
18
19   Defendants’ unlawful policies, practices, acts and omissions, and maintenance of inaccessible public

20   facilities as complained of herein no longer occur and will not recur;
21
            3.     Award Plaintiff all appropriate damages, including, but not limited to, either statutory
22
     damages of no less than four-thousand U.S. dollars (4,000 USD) for each and every violation of Cal.
23
     Civ. Code § 51, or no less than one-thousand U.S. dollars (1,000 USD) for each and every violation of
24
25   Cal. Civ. Code § 54, with either Cal. Civ. Code § 51 or § 54 being elected prior to, or at, trial, but not

26   both, and general damages in an amount within the jurisdiction of the Court, according to proof;
27
28


        COMPLAINT BY SINGH AGAINST LITTLE CAESAR ENTERPRISES, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1           4.     Award Plaintiff all litigation expenses and costs of this proceeding, and all reasonable
 2
      attorneys’ fees as provided by law, including but not limited to, 42 U.S.C. § 12205, Cal. Civ. Code §§
 3
      52 and 54.3; and
 4
             5.     Grant such other and further relief as this Court may deem just and proper.
 5
 6
 7    Dated: November 19th, 2022
 8
                                                                    /s/ Daniel Malakauskas
 9                                                                  By: DANIEL MALAKAUSKAS
                                                                    Attorney for PLAINTIFF
10                                                                  FRANK SINGH
11
12                                               VERFICIATION

13          I declare under penalty of perjury under the laws of the state of California that the above is true
14
     and correct.
15
16
     Dated: November 19th, 2022.                                    /s/Frank Singh______________________
17
                                                                    By: FRANK SINGH, PLAINTIFF
18
19
20
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         COMPLAINT BY SINGH AGAINST LITTLE CAESAR ENTERPRISES, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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